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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-00176-TLN
                                                                   1:15-CR-00242-TLN
12                                 Plaintiff,
                                                          STIPULATION REGARDING EXCLUDABLE
13                           v.                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
                                                          FINDINGS AND ORDER
14   BOONE B. KHOONSRIVONG,
                                                          DATE: February 8, 2018
15                                 Defendant.             TIME: 9:30 a.m.
                                                          COURT: Hon. Troy L. Nunley
16

17                                                STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendant, Boone
19 B. Khoonsrivong, by and through his counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for status on February 8, 2018.
21          2.       By this stipulation, defendant now moves to continue the status conference until February
22 15, 2018, at 9:30 a.m., and to exclude time between February 8, 2018, and February 15, 2018, under

23 Local Code T4.

24          3.       The parties agree and stipulate, and request that the Court find the following:
25                   a)     The government has represented that the discovery associated with this case
26          includes approximately 47,000 pages of discovery, audio files and video files. Additionally, the
27          government has produced evidence regarding its loss calculation and restitution calculation. All
28          of this discovery has been either produced directly to counsel and/or made available for

      STIPULATION REGARDING EXCLUDABLE TIME               1
      PERIODS UNDER SPEEDY TRIAL ACT
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 1        inspection and copying.

 2               b)      Counsel for defendant desires additional time to review that discovery, in

 3        particular the evidence regarding restitution. Counsel for defendant also requests further time to

 4        investigate potential issues concerning the defendant’s immigration status, and how a guilty plea

 5        may affect that status.

 6               c)      Counsel for defendant believes that failure to grant the above-requested

 7        continuance would deny him/her the reasonable time necessary for effective preparation, taking

 8        into account the exercise of due diligence.

 9               d)      The government does not object to the continuance.

10               e)      Based on the above-stated findings, the ends of justice served by continuing the

11        case as requested outweigh the interest of the public and the defendant in a trial within the

12        original date prescribed by the Speedy Trial Act.

13               f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14        et seq., within which trial must commence, the time period of February 8, 2018 to February 15,

15        2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

16        T4] because it results from a continuance granted by the Court at defendant’s request on the basis

17        of the Court’s finding that the ends of justice served by taking such action outweigh the best

18        interest of the public and the defendant in a speedy trial.

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     STIPULATION REGARDING EXCLUDABLE TIME              2
     PERIODS UNDER SPEEDY TRIAL ACT
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 2          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 3 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 4 must commence.

 5          IT IS SO STIPULATED.

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 7 Dated: February 5, 2018                                     MCGREGOR W. SCOTT
                                                               United States Attorney
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 9                                                             /s/ ROSANNE L. RUST
                                                               ROSANNE L. RUST
10                                                             Assistant United States Attorney
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12 Dated: February 5, 2018                                     /s/ DAVID FISCHER
                                                               DAVID FISCHER
13
                                                               Counsel for Defendant
14                                                             BOONE B. KHOONSRIVONG

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17
                                             FINDINGS AND ORDER
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            IT IS SO FOUND AND ORDERED this 6th day of February, 2018.
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23                                                                 Troy L. Nunley
                                                                   United States District Judge
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      STIPULATION REGARDING EXCLUDABLE TIME                3
      PERIODS UNDER SPEEDY TRIAL ACT
